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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                 No. 8:17-cr-00153-CJC

11              Plaintiff,                   ORDER GRANTING PARTIES’
                                             STIPULATION RE: CORRECTED FIGURE
12              v.                           FOR TOTAL AMOUNT OF RESTITUTION

13 VICTORIA CHAN,

14              Defendant.

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17   For good cause shown, IT IS HEREBY ORDERED THAT:

18         The parties’ stipulation re: corrected figure for total amount

19   of restitution (Dkt. 108) is GRANTED.         The total amount of

20   restitution in this case is amended from $20,461,970.61 to

21   $32,244,440.61, for the 57 individuals whom the Court previously

22   found to be victims.      A second amended Judgment and

23   Probation/Commitment Order shall issue.

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25   DATED: March 17, 2022

26                                      __________________________________
                                        THE HONORABLE CORMAC J. CARNEY
27                                      UNITED STATES DISTRICT JUDGE
28
     CC: USPO, FISCAL
